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                          U N I T E D S T AT E S D I S T R I C T C O U R T
                         C E N T R AL D I S T R I C T O F C AL I F O R N I A




          J ANE T GARCIA, et a l.,                         CV 19-6182 DSF (P LAx)
                P la in t iff,
                                                           Or der GRANTING IN P ART
                              v.                           P la in t iffs’ E x P a r te Applica t ion t o
                                                           Appoin t Neu t r a l E xa m in er
          CITY OF LOS ANGE LE S,                           (Dkt s. 165, 167)
               Defen da n t .



           P la in t iffs J a n et Ga r cia , Gla dys “J a n e” Zepeda , Mir ia m Za m or a , Ali
      E l-Bey, J a m es H a u ga br ook, P et e Diocson J r ., Ma r qu is Ash ley, Kt own
      for All, a n d Associa t ion for Respon sible a n d E qu it a ble P u blic Spen din g
      filed a n ex pa r te a pplica t ion for t h e a ppoin t m en t of a n eu t r a l for en sic
      exa m in er pu r su a n t t o F eder a l Ru les of E viden ce (Ru le) 706. Dkt . 167
      (Cor r ect ed E x P a r te App.). 1 Th e Cit y opposes. Dk t . 170 (Opp’n ). Th e
      Cou r t deem s t h is m a t t er a ppr opr ia t e for decision wit h ou t or a l
      a r gu m en t . See F ed. R. Civ. P . 78; Loca l Ru le 7-15. F or t h e r ea son s
      st a t ed below, t h e a pplica t ion is GRANTE D in pa r t .

                                           I . B AC K G R O U N D

         Los An geles Mu n icipa l Code (LAMC) § 56.11 r egu la t es t h e st or a ge of
      per son a l pr oper t y in pu blic a r ea s (t h e Or din a n ce). Am on g ot h er t h in gs,


      1 Th e Cou r t ca len da r ed t h is m a t t er a s a r egu la r ly-n ot iced m ot ion wit h a n
      a ppr opr ia t e br iefin g sch edu le. Dkt . 172.
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      t h e Or din a n ce a u t h or izes t h e Cit y t o seize a n d dest r oy cer t a in per son a l
      pr oper t y im m edia t ely a n d wit h ou t n ot ice, in clu din g if t h e pr oper t y
      “poses a n im m edia t e t h r ea t t o t h e h ea lt h or sa fet y of t h e pu blic,” LAMC
      § 56.11(3)(g), “con st it u t es eviden ce of a cr im e or con t r a ba n d,” id. §
      56.11(3)(h ), or is a “Bu lky It em ” t h a t is n ot “design ed t o be u sed a s a
      sh elt er ,” id. § 56.11(3)(i) (Bu lky It em P r ovision ).

            Th e Cit y en for ces t h e Or din a n ce t h r ou gh E n vir on m en t a l
      Com plia n ce In spect or s (E CIs) in t h e Bu r ea u of Sa n it a t ion (Sa n it a t ion ),
      a n d t h e Los An geles P olice Depa r t m en t (LAP D), wh ich con du ct n ot iced
      clea n u ps a n d r a n dom r a pid r espon ses wh er e per son a l pr oper t y t h a t
      does n ot com ply wit h t h e Or din a n ce is seized or dest r oyed. See id. §
      56.11(11), id. §56.11 St a n da r d of P r ocedu r es 3, 7. E CIs com plet e
      H ea lt h H a za r d Assessm en t Repor t s a n d H ea lt h H a za r d Ch ecklist s t h a t
      docu m en t t h e it em s seized or dest r oyed du r in g clea n u ps. Dkt . 178
      (Su ppl. Opp’n ) a t 1; Dkt . 167-1 (Myer s Decl.) ¶ 24 & Dkt . 165-5 (E x. 2) 2 ;
      see, e.g., Myer s Decl ¶ ¶ 54, 67 & Dkt . 165-35 (E x. 32), Dkt . 165-48 (E x.
      45). Sa n it a t ion in st r u ct s E CIs t o fill ou t t h e Repor t s a n d Ch ecklist s a t
      t h e en d of t h e oper a t ion a n d t u r n t h em in a t t h e en d of t h e da y. Myer s
      Decl. ¶ 25 & Dkt . 165-6 (E x. 3) a t 10-11. E CIs t h en m a n u a lly u ploa d
      t h e Repor t s a n d Ch ecklist s t o Sa n it a t ion ’s Wa t er sh ed P r ot ect ion
      In for m a t ion Ma n a gem en t Syst em (WP IMS) da t a ba se a s digit a l
      a t t a ch m en t s t o ca se files. Su ppl. Opp’n a t 1.

          P la in t iffs r equ est ed copies of t h e Repor t s, Ch ecklist s, a n d a n y
      em a ils wit h a t t a ch m en t s r ela t ed t o t h e clea n u ps a lleged in t h eir Secon d
      Am en ded Com pla in t . Myer s Decl. ¶ ¶ 3, 4, 5. Addit ion a lly, P la in t iffs
      r equ est ed t h e m et a da t a for t h ese docu m en t s, in clu din g in for m a t ion
      specifyin g wh o cr ea t ed t h em a n d wh en t h ey wer e cr ea t ed. Id. ¶ 5; Dkt .
      122-2 & E x. S. By Decem ber 2021, t h e Cit y pr odu ced m et a da t a set s
      fr om t h e WP IMS da t a ba se a n d em a ils wit h a t t a ch m en t s. Myer s Decl.
      ¶ ¶ 9, 11; Dkt . 170-1 (Lebr on Decl.) ¶ 13.


      2Th e Cor r ect ed E x P a r te App. a n d Myer s’ Decla r a t ion a r e filed a s E CF 167,
      bu t t h e cor r espon din g exh ibit s a r e filed wit h t h e or igin a l a pplica t ion a s E CF
      165.



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            P la in t iffs n ow con t en d t h a t t h er e a r e sign ifica n t t ech n ica l issu es
      wit h t h e m et a da t a pr ovided by t h e Cit y. Cor r ect ed E x P a r te App. a t 13-
      16. F ir st , P la in t iffs iden t ified eigh t Ch ecklist s for clea n u ps con du ct ed
      in 2018 a n d 2019 t h a t a r e filled ou t on for m s t h e Cit y did n ot a ppr ove
      u n t il Apr il 2020. Myer s Decl. ¶ ¶ 52-60 & Dkt . 165-33 t h r ou gh 41 (E xs.
      30-38). Secon d, P la in t iffs discover ed a n em a il ver sion of P la in t iff
      J a m es H a u ga br ook’s Repor t t h a t does n ot st a t e t h a t h e “volu n t a r ily”
      t u r n ed over h is belon gs for disposa l, cou n t er in g t h e t h r ee sim ila r
      ver sion s st a t in g t h a t E CIs disposed of it em s “deem ed t r a sh by t h e
      h om eless in dividu a l for disposa l volu n t a r ily.” Com pa r e Myer s Decl. ¶
      22 & Dk t . 165-25 (E x. 22) wit h Myer s Decl. ¶ ¶ 40-42 & Dkt . 165-21
      t h r ou gh 23 (E xs. 18-20). Th ir d, P la in t iffs cla im a n em a il a n d it s
      a t t a ch m en t m et a da t a su ggest t h a t t h e Cit y a lt er ed Repor t s for it s
      Opposit ion t o P la in t iffs’ m ot ion for P r elim in a r y In ju n ct ion . Myer s
      Decl. ¶ ¶ 19, 63-69 & Dkt . 165-44 t h r ou gh 50 (E xs. 41-47). F in a lly,
      P la in t iffs discover ed em a ils sen t by sen ior E CIs, a ft er t h e Cou r t h eld
      t h e Cit y in con t em pt for viola t in g t h e P r elim in a r y In ju n ct ion ,
      in st r u ct in g E CIs t o in clu de in t h eir n a r r a t ives t h a t it em s wer e r em oved
      beca u se t h ey viola t ed t h e ADA a n d obst r u ct ed in gr ess a n d egr ess, n ot
      beca u se of t h e Bu lk y It em P r ovision a t issu e in t h e P r elim in a r y
      In ju n ct ion . See Dkt . 58; Myer s Decl. ¶ 71 & Dkt . 165-54 (E x. 49). As a
      r esu lt , P la in t iffs a r gu e t h a t t h e Cou r t sh ou ld a ppoin t a n eu t r a l for en sic
      exa m in er t o a n a lyze t h e Cit y’s docu m en t pr eser va t ion a n d r et en t ion
      pr ocesses t o det er m in e wh et h er a n d t o wh a t ext en t spolia t ion h a s
      occu r r ed. Cor r ect ed E x P a r te App. a t 28.

                                      I I . L E G AL S T AN D AR D

      A.      C o u r t Ap p o in t e d E x p e r t Wit n e s s

          Ru le 706 a llows t h e Cou r t t o a ppoin t a n y exper t wit n ess t h a t t h e
      pa r t ies a gr ee on or a n y exper t of t h e Cou r t ’s own ch oosin g. F ed. R.
      E vid. 706(a ). “A Ru le 706 exper t t ypica lly a ct s a s a n a dvisor t o t h e
      cou r t on com plex scien t ific, m edica l, or t ech n ica l m a t t er s.” Ar m st r on g
      v. Br own , 768 F .3d 975, 987 (9t h Cir . 2014). Th e exper t “does n ot ser ve
      a s a n a dvoca t e for eit h er pa r t y, a n d ea ch pa r t y r et a in s t h e a bilit y t o
      ca ll it s own exper t s.” P a t t on v. Loa dh olt , 445 F . Su pp. 3d 802, 803


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      (E .D. Ca l. 2020). Ru le 706 “sh ou ld be r eser ved for except ion a l ca ses in
      wh ich t h e or din a r y a dver sa r y pr ocess does n ot su ffice.” McCoy v.
      St r on a ch , 494 F . Su pp. 3d 376, 740 (E .D. Ca l. 2020). Non et h eless, t h e
      “decision of wh et h er t o a ppoin t a n exper t wit n ess u n der Ru le 706 is
      discr et ion a r y.” Gor t on v. Todd, 793 F . Su pp. 2d 1171, 1178 (E .D. Ca l.
      2011); Sa n der s v. Yor k, 446 F . App’x 40, 43 (9t h Cir . 2011) (“Cou r t s
      h a ve br oa d discr et ion t o a ppoin t exper t wit n esses.”). “Ult im a t ely, t h e
      m ost im por t a n t qu est ion a cou r t m u st con sider wh en decidin g wh et h er
      t o a ppoin t a n eu t r a l exper t wit n ess is wh et h er doin g so will pr om ot e
      a ccu r a t e fa ct fin din g.” Gor t on , 793 F . Su pp. 2d a t 1178.

                                         III. DISCUSSION

           Th e Cit y does n ot den y t h a t E CIs cr ea t e a n d r evise Repor t s a n d
      Ch ecklist s a ft er clea n u p da t es. Lebr on Decl. ¶ 5 & E x. 3. In st ea d, t h e
      Cit y a r gu es t h a t a for en sic exa m in er is u n n ecessa r y beca u se fa ct
      discover y pr ovides su fficien t su ppor t for P la in t iffs’ cla im s. Su ppl. Opp’n
      a t 3.

          Ru le 706 “is n ot fr equ en t ly in voked, a n d con sequ en t ly t h er e is
      r ela t ively lit t le ca se la w on t h e su bject .” Ch a vez v. Un it ed St a t es of
      Am ., No. CV 19-31-DMG (J E Mx), 2021 WL 6104403, a t *2 (C.D. Ca l.
      Sept . 29, 2021). In Gor t on , t h e dist r ict cou r t a n a lyzed a ppella t e
      decision s a cr oss va r iou s cir cu it s a n d a r t icu la t ed fou r fa ct or s cou r t s
      sh ou ld con sider wh en decidin g a Ru le 706 m ot ion :

          (1) Wh et h er exper t t est im on y is n ecessa r y or sign ifica n t ly u sefu l for
          t h e t r ier of fa ct t o com pr eh en d a m a t er ia l issu e in t h e ca se.

          (2) Wh et h er t h e m ovin g pa r t y h a s pr odu ced som e eviden ce,
          a dm issible or ot h er wise, t h a t dem on st r a t es a ser iou s dispu t e t h a t
          cou ld be r esolved or u n der st ood t h r ou gh exper t t est im on y.

          (3) Wh et h er cer t a in cir cu m st a n ces or con dit ion s of a pa r t y lim it t h e
          effect iven ess of t h e a dver sa r y pr ocess t o r esu lt in a ccu r a t e
          fa ct fin din g.

          (4) Wh et h er t h e lega l ba sis of pla in t iff’s cla im en t it les h im t o specia l
          con sider a t ion by t h e cou r t s.


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      793 F . Su pp. 2d a t 1185. Ot h er dist r ict cou r t s in t h is Cir cu it h a ve
      a dopt ed t h ese fa ct or s. Ch a vez, 2021 WL 6104403, a t *2 (“Th is Cou r t
      fin ds t h e Gor ton cou r t ’s t h or ou gh a n a lysis per su a sive a n d a dopt s it s
      fou r -fa ct or t est .”); Allen v. Bea r d, No.: 3:16-cv-2713-MMA-KSC, 2018
      WL 5819782, a t *2 (S.D. Ca l. Nov. 7, 2018). Th e Cou r t a gr ees a n d
      con sider s t h ese fa ct or s in det er m in in g wh et h er a ppoin t m en t of a
      for en sic exa m in er is a ppr opr ia t e h er e. Given t h a t P la in t iffs iden t ified
      sever a l issu es wit h t h e Cit y’s eviden ce, t h e secon d fa ct or of t h e Gor t on
      a n a lysis is m et . Th e r em a in in g fa ct or s a r e discu ssed below.

           Th e “t ou ch st on e” in t h e Ru le 706 a n a lysis is det er m in in g wh et h er
      t h e exper t is “n ecessa r y or sign ifica n t ly u sefu l for t h e t r ier of fa ct t o
      com pr eh en d a m a t er ia l issu e in a ca se.” Gor t on , 793 F . Su pp. 2d a t
      1181. H er e, t h e m a t er ia l issu e is wh et h er t h e Cit y a lt er ed r eleva n t
      eviden ce du r in g t h is lit iga t ion , n a m ely t h e Repor t s a n d Ch ecklist s
      r ega r din g P la in t iffs cla im s. P la in t iffs cor r ect ly poin t ou t t h a t t h e issu e
      h er e is n ot wh y Repor t s or Ch ecklist s wer e cr ea t ed or r evised a ft er a
      clea n u p, a s t h e Cit y su ggest s, bu t r a t h er wh en t h ese ch a n ges occu r r ed.
      Th e “du t y t o pr eser ve docu m en t s a t t a ch es wh en a pa r t y sh ou ld h a ve
      kn own t h a t t h e eviden ce m a y be r eleva n t t o fu t u r e lit iga t ion .”
      Con su m er F in . P r ot . Bu r ea u v. Mor ga n Dr exen In c., 101 F . Su pp. 3d
      856, 872 (C.D. Ca l. 2015); Leon v. IDX Sys. Cor p., 464 F .3d 951, 956,
      959 (9t h Cir . 2006) (a ffir m in g t h e dist r ict cou r t ’s fin din g t h a t pla in t iff
      willfu lly spolia t ed eviden ce wh en h e dest r oyed elect r on ica lly st or ed
      in for m a t ion on a wor k com pu t er a ft er r eceivin g n ot ice of lit iga t ion ).
      Addit ion a lly, dist r ict cou r t s in ot h er Cir cu it s h a ve or der ed for en sic
      in vest iga t ion s t o det er m in e wh et h er a pa r t y a lt er ed or wit h h eld
      elect r on ica lly st or ed in for m a t ion . See Gen wor t h F in . Wea lt h Mgm t .,
      In c. v. McMu llin , 267 F .R.D. 443, 449 (D. Con n . 2010) (or der in g for en sic
      in vest iga t ion of com pu t er t o fin d elect r on ica lly st or ed in for m a t ion t h a t
      defen da n t s wit h h eld fr om discover y); see a lso Tr eppel v. Biova li Cor p.,
      249 F .R.D. 111, 124 (S.D.N.Y. 2008) (or der in g for en sic exa m in er t o
      r ecover r eleva n t em a ils t h a t defen da n t delet ed); Ma r su lex E n v’t Tech s.
      v. Selip S.P .A., No. 1:15-CV-00269, 2019 WL 2184873, a t *12 (M.D. P a .
      Ma y 21, 2019) (or der in g for en sic exa m in er t o det er m in e wh et h er
      defen da n t wit h h eld, su ppr essed, or delet ed elect r on ica lly st or ed



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      in for m a t ion ). In t h is ca se, a n a r r owly t a ilor ed exa m in a t ion of t h e
      Cit y’s m et a da t a by a n eu t r a l for en sic exa m in er will cla r ify wh en t h e
      Cit y a lt er ed or cr ea t ed docu m en t s r eleva n t t o P la in t iffs’ cla im s, a n d
      wh et h er t h is occu r r ed du r in g t h e cou r se of lit iga t ion . Th is in for m a t ion
      will pr om ot e a ccu r a t e fa ct fin din g by pr oh ibit in g spolia t ed eviden ce, see
      Gor t on , 793 F . Su pp. 2d a t 1178, a n d fu lfills t h e Cou r t ’s “du t y t o en su r e
      t h a t t h e r ecor d befor e it is fr ee fr om fr a u d or in t en t ion a l
      m isr epr esen t a t ion .” Colem a n v. Br own , No. 2:90-cv-0520 KJ M DB P ,
      2018 WL 9848294, a t *2 (E .D. Ca l. Dec. 13, 2018). Th is Ru le 706 fa ct or
      is sa t isfied.

           Next , t h e Cou r t con sider s wh et h er cer t a in cir cu m st a n ces or
      con dit ion s of a pa r t y lim it t h e effect iven ess of t h e a dver sa r y pr ocess t o
      r esu lt in a ccu r a t e fa ct fin din g. Gor t on , 793 F . Su pp. 2d a t 1185. H er e,
      t h e Cit y con cedes it is “n ot [a ] for en sic com pu t er exper t [],” a n d cla im s
      t h a t it “h a s pr odu ced a ll t h e m et a da t a it h a s a n d a n y fu r t h er
      com m u n ica t ion on t h is poin t will be fr u it less.” Myer s Decl. ¶ 86 & Dkt .
      165-67 (E x. 64). Yet wh en t h e Cit y t u r n ed over it s m et a da t a , t h e
      in for m a t ion r eflect ed t h e da t e of pr odu ct ion of t h e docu m en t s for
      discover y, r a t h er t h a n t h e da t e of cr ea t ion a ssocia t ed wit h t h e
      u n der lyin g docu m en t s. Myer s Decl. ¶ ¶ 81-82 & Dkt . 165-62, 165-63
      (E xs. 59-60). F u r t h er , t h e Cit y a r gu es t h a t a for en sic exa m in a t ion is
      u n n ecessa r y beca u se P la in t iffs m a y qu est ion t h e E CIs r espon sible for
      dr a ft in g t h e r eleva n t Repor t s a n d Ch eck list s t h r ou gh n or m a l fa ct
      discover y. Su ppl. Opp’n a t 4. H owever , t h e Cit y r elies on Repor t s a n d
      Ch ecklist s “t o docu m en t t h e in st a n ces t h a t t ook pla ce a t t h e oper a t ion
      a n d a lso t o be a ble t o r eca ll a t a la t er da t e.” Myer s Decl. ¶ 24 & Dkt .
      165-5 (E x. 2) a t 7. Qu est ion in g E CIs t h a t r ely on pot en t ia lly a lt er ed
      Repor t s a n d Ch ecklist s t o r eca ll specific clea n u ps does P la in t iffs lit t le
      good in t h e a dver sa r y pr ocess. Given t h e P la in t iffs’ econ om ic st a t u s,
      t h e Cit y’s u n fa m ilia r it y wit h com pu t er for en sics, t h e a llega t ion s of
      a lt er ed docu m en t s, a n d t h e t ech n ica l n a t u r e of collect in g m et a da t a , a
      n eu t r a l for en sic exa m in er in cr ea ses t h e effect iven ess of t h e a dver sa r ia l
      pr ocess a n d pr om ot es a ccu r a t e fa ct fin din g. Th is fa ct or is sa t isfied.

          Th e fin a l fa ct or con sider s wh et h er t h e n a t u r e of P la in t iffs’ cla im s
      en t it le t h em t o specia l con sider a t ion by t h e cou r t s. Gor t on , 793 F .


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      Su pp. 2d a t 1185. “[C]ivil r igh t s a ct ion s a r e en t it led t o [a ] pr ivileged
      posit ion beca u se fu n da m en t a l, Con st it u t ion a l r igh t s a r e a t st a ke.” Id.
      a t 1184. Wh ile t h is fa ct or is “n ot a n ecessa r y a n d su fficien t fa ct or
      u n der Ru le 706,” dist r ict cou r t s “sh ou ld a lso con sider t h e sign ifica n ce of
      t h e r igh t s a t st a ke wh en decidin g if a ppoin t m en t of a n exper t is
      pr oper .” Id. H er e, P la in t iffs’ cla im s a r ise fr om a lleged viola t ion s of t h e
      F ou r t h a n d F ou r t een t h Am en dm en t . See Dkt . 43 (Secon d Am en ded
      Com pla in t ). In ot h er wor ds, P la in t iffs’ Con st it u t ion a l r igh t s a r e a t
      st a ke. Mor eover , t h e Nin t h Cir cu it a ffir m ed t h is Cou r t ’s P r elim in a r y
      In ju n ct ion issu ed a ga in st t h e Cit y, n ot in g it s a gr eem en t “wit h t h e
      dist r ict cou r t t h a t P la in t iffs a r e lik ely t o su cceed on t h eir cla im t h a t
      [t h e Bu lk y It em P r ovision ], on it s fa ce, viola t es t h e F ou r t h
      Am en dm en t ’s pr ot ect ion a ga in st u n r ea son a ble sea r ch es.” Ga r cia v.
      Cit y of Los An geles, 11 F .4t h 1113, 1116 (9t h Cir . 2021). Beca u se t h e
      Or din a n ce im pa ct s P la in t iffs’ Con st it u t ion a l r igh t s by a llowin g t h e Cit y
      t o seize a n d dest r oy P la in t iffs’ it em s, t h is fa ct or is m et .

           Th er efor e, t h e Cou r t or der s t h e pa r t ies t o m eet a n d con fer t o discu ss
      t h e pa r a m et er s a n d cr it er ia for a n eu t r a l for en sic exa m in a t ion . Th e
      exa m in a t ion m u st be n a r r owly t a ilor ed t o focu s on a sa m ple size of
      m et a da t a a gr eed t o by t h e pa r t ies t o det er m in e wh et h er spolia t ion h a s
      occu r r ed a n d in wh a t m a n n er . Beca u se t h e n eu t r a l for en sic exa m in er
      is n ot a n a dvoca t e for eit h er side, t h e pa r t ies sh ou ld a t t em pt t o a gr ee
      on a n exa m in er a n d seek t h e per son ’s con sen t t o a ct . F ed. R. E vid.
      706(a ) (“[T]h e cou r t m a y on ly a ppoin t som eon e wh o con sen t s t o a ct .”).
      If t h e sides ca n n ot a gr ee on t h e n eu t r a l for en sic exa m in er , ea ch pa r t y
      m u st pr ovide t wo n a m es (wit h a ppr opr ia t e cu r r icu lu m vit a e) for t h e
      Cou r t t o ch oose fr om . Th e pa r t ies will in it ia lly sh a r e t h e cost s of t h e
      exa m in a t ion . F ed. R. E vid. 706(c)(2). H owever , if t h e Cou r t con clu des
      spolia t ion h a s occu r r ed, or it is ot h er wise wa r r a n t ed, t h e Cou r t m a y
      “a ppor t ion a ll t h e cost s t o on e side.” Gor t on , 793 F . Su pp. 2d a t 1178
      (cit in g McKin n ey v. An der son , 924 F .2d 1500, 1511 (9t h Cir . 1991),
      va ca t ed on ot h er gr ou n ds su b n om ., H ellin g v. McKin n ey, 502 U.S. 903
      (1991)). Th e n a m e of t h e a gr eed for en sic exa m in er (or t h e pa r t ies’
      pr oposed exa m in er s) a n d t h e pr oposed pa r a m et er s a n d cr it er ia m u st be




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      su bm it t ed n o la t er t h a n J u n e 13. Th e pa r a m et er s a n d cr it er ia m a y be
      r evised a ft er r eview by t h e a ppoin t ed exa m in er .

                                         I V. C O N C L U S I O N

         P la in t iffs’ ex pa r t e a pplica t ion t o a ppoin t a n eu t r a l for en sic
      exa m in er is GRANTE D a s discu ssed a bove.

          IT IS SO ORDE RE D.



       Da t e: Ma y 27, 2022                              ___________________________
                                                          _________________________
                                                          Da lle S
                                                                 S. F iisch
                                                                          h er
                                                          Un it ed St a t es Dist r ict J u dge




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